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 In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
                                     No. 11-810V
                              (E-Filed: August 12, 2014)

* * * * * * * * * * * * * * *
LYNN FRY, as Personal Representative *            UNPUBLISHED
of VIRGINIA TAYLOR, deceased,        *
                                     *
              Petitioner,            *            Special Master
                                     *            Hamilton-Fieldman
           v.                        *
                                     *            Influenza Vaccine; Transverse
SECRETARY OF HEALTH AND              *            Myelitis (“TM”); Acute Disseminated
HUMAN SERVICES,                      *            Encephalomyelitis (“ADEM”); Death;
                                     *            Decision; Stipulation.
              Respondent.            *
* * * * * * * * * * * * * * *

Anne Carrion Toale, Maglio, Christopher & Toale, PA, Sarasota, FL, for Petitioner.
Linda S. Renzi, U.S. Department of Justice, Washington, DC, for Respondent.

                         DECISION AWARDING DAMAGES1

       On December 2, 2011, Petitioner, Lynn Fry, personal representative of Virginia
Taylor, deceased, filed a petition seeking compensation under the National Vaccine
Injury Compensation Program (Athe Vaccine Program@). The petition alleged that Ms.
Taylor suffered from Transverse Myelitis (“TM”), Acute Disseminated
Encephalomyelitis (“ADEM”), and death, as a result of receiving an influenza


       1
          Because this decision contains a reasoned explanation for the undersigned’s
action in this case, the undersigned intends to post this decision on the United States
Court of Federal Claims’ website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. §
3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days within
which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Otherwise, “the entire” decision will be available to
the public. Id.


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vaccination on October 13, 2009.2

       Respondent denies that Petitioner’s influenza vaccination caused her TM, ADEM,
death, and/or any other injury. Nonetheless, both parties, while maintaining their above
stated positions, agreed in a Stipulation, filed August 12, 2014, (“Stipulation”) that the
issues before them can be settled and that a decision should be entered awarding
Petitioner compensation.

      The undersigned finds said stipulation reasonable and adopts it as the decision of
the Court in awarding damages, on the terms set forth therein.

       The stipulation awards:

       A lump sum of $45,000.00 in the form of a check payable to Petitioner,
       representing all damages available under 42 U.S.C. §300aa-15(a) to which
       Petitioner would be entitled.

Stipulation ¶ 8(a)


       The undersigned approves the requested amounts for Petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.3


       IT IS SO ORDERED.
                                                 s/Lisa D. Hamilton-Fieldman
                                                 Lisa D. Hamilton-Fieldman
                                                 Special Master




       2
         The National Vaccine Injury Compensation Program is set forth in Part 2 of the
National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755,
codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34 (West 1991 & Supp. 2002)
(Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. ' 300aa.
       3
           Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties=
joint filing of notice renouncing the right to seek review.


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